
OVERTON, Justice.
The State of Florida petitions this Court to review Duncan v. State, 578 So.2d 905 (Fla. 1st DCA 1991), in which the First District Court of Appeal reversed Duncan’s sentencing as a habitual offender. The district court certified the following question as being of great public importance:
Whether section 775.084(1)(a)1, Florida Statutes (Supp.1988), which defines habitual felony offenders as those who have “previously been convicted of two or more felonies,” requires that each of the felonies be committed after convic*1005tion for the immediately previous offense.
Id. at 906.1
We answered this same certified question in the negative in our decision in State v. Barnes, 595 So.2d 22 (Fla.1992). Accordingly, we quash the district court’s decision reversing Duncan’s sentencing as a habitual offender and remand this ease for further proceedings consistent with our opinion in Barnes.
It is so ordered.
SHAW, C.J., and McDONALD, BARKETT, GRIMES, KOGAN and HARDING, JJ., concur.

. We have jurisdiction. Art. V, § 3(b)(4), Fla. Const.

